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                                                 CITATION
         VICTORIA ANN TARLETON                                               STATE OF LOUISIANA

         Vs. No. 134303 Div "C"                                        16th JUDICIAL DISTRICT COURT

         DG LOUISIANA LLC, ET AL                                              PARISH OF ST. MARY




         To: DG LOUISIANA. LLC, THROUGH AGENT, CORPORATION SERVICE
         COMPANY, 501 LOUISIA�A AVENUE, BATON ROUGE. LA 70802



         You are hereby cited to comply with the demand contained in the petition, a
         certified copy of which accompanies this citation or to file your answer or other
         pleading to said petition in the office of the Clerk of the 15th Judicial District
         Court in the St. Mary Parish Court House in the City of Franklin in said Parish
         within fifteen (15) days after the service hereof. Your failure to comply herewith
         will subject you to the penalty of entry of default judgment against you.


         WITNESS MY HAND AND OFFICIAL SEAL OF OFFICE AT FRANKLIN,
         LOUISIANA, OCTOBER 30, 2019.



            CLERK'S OFFICE,                                        CLIFF DRESSEL
                                  FRANKLIN, LA                      Clerk of Court
                                                             St. Mary Parish, Louisiana
                                                             15th Judicial District Court
                     OCT 3 0 2019
               A �e copy of the original



         ��)�                        SPACE BELOW FORSHERIFF'S RETURN
                                                                       Deputy Clerk of Court




                                                             EXHIBIT A
                                                 [SERVICE]
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